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United States District Court

SOUTHERN DISTRICT OF INDIANA

UNITED STATES OF AMERICA

V CRIMINAL COMPLAINT

RICHARD GRIGSON CASE NUMBER: l :lS-rnj-00156

l, the undersigned complainant being duly sworn state the following is true and correct to the best of rny
knowledge and belief. On or between Novernber 4, 2017 and February 15, 2018, in Hamilton County, in the
Southern District of Indiana defendants did,

Distribution of a Visual Depiction of a Minor Engaging in Sexually Explicit Conduct
in violation of Title 18, United States Code, Section 2252(a)(2) and (b)(2). l further state that l arn a Special
Agent, and that this complaint is based on the following facts:

See attached Affidavit.

Continued on the attached sheet and made a part hereof.

 

 

Sworn to before me, and subscribed in my presence

February 16, 2018 at Indianapolis, Indiana
Date

/ 1/§-'
Tirn A. Baker, U.S. Magistrate Judge ¢\ “"' “‘ '

Name and Title of Judicial Officer Signature of Judicial Ofi`lcer

 

 

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AFFIDAVIT IN SUPPORT ()F CRIMINAL COMPLAINT
I, Task Force Officer John Pirics, being duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. Affiant: l am employed as a Detective with the Carrnel Police Department, and I
am currently assigned to the Hamilton County Metro Child Exploitation Task Force. l have been
employed by the Carmel Police Department as an officer since l995. l have received extensive
training in child sexual exploitation investigation from several sources, including the lnternet
Crimes Against Children Task Force, the Purdue University Cyber Forensics program, the
United States Attorney’s Office, and the National Center for Missing and Exploited Children. l
have written numerous search warrants involving internet crimes against children cases and
participated in their execution. l am currently assigned to operate in an undercover capacity on
the lnternet to identify and investigate persons attempting to exploit or solicit sexual acts with
children or trafficking in child pornography. l am also a cross designated task force officer with
US Homeland Security Investigations (HSI) (formerly US Immigration and Customs
Enforcement, Office of Investigations).

2. Probable Cause: For the reasons listed below, there is probable cause to believe
that RICHARD GRIGSON (GRIGSON), _DOB xx-xx-l983 (known to affiant, but redacted) has
committed the following offenses in the Southern District of Indiana and elsewhere:

a. Count 1: Distribution of a Visual Depiction of a Minor Engaging in

Sexually Explicit Conduct: Within the Southern District of Indiana and elsewhere,

RICHARD GRIGSON knowingly distributed a visual depiction of a minor engaging in

sexually explicit conduct, including an image of at least one child Who the Defendant

knew to be less than 12 years of age, violation of 18 U.S.C. § 2252(a)(2) and (b)(2);

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3. Child Pornography Trafficking (18 U.S.C. § 2252): This investigation
concerns alleged violations of 18 U.S.C. § 2252, which prohibits a person from knowingly
transporting, shipping, receiving, distributing, reproducing for distribution, or possessing any
visual depiction of minors engaging in sexually explicit conduct when such visual depiction was
either mailed or shipped or transported in interstate or foreign commerce by any means,
including by computer, or when such visual depiction was produced using materials that had
traveled in interstate or foreign commerce

4. Definitions: The following definitions apply to this Affidavit:

a. The term “minor,” as defined in 18 U.S.C. § 2256(1), refers to any person
under the age of eighteen years.

b. The term “sexually explicit conduct,” 18 U.S.C. § 2256(2)(A)(i-v), is
defined as actual or simulated (a) sexual intercourse, including genital-genital, oral-
genital, anal-genital, or oral-anal, whether between persons of the same or opposite sex;
(b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious
exhibition of the genitals or pubic areas of any person.

c. The term “visual depiction,” as defined in 18 U.S.C. § 2256(5), includes
undeveloped film and videotape, data stored on computer disc or other electronic means
which is capable of conversion into a visual image, and data which is capable of
conversion into a visual image that has been transmitted by any means, whether or not
stored in a permanent format.

d. The term “computer,” as defined in 18 U.S.C. §1030(e)(1), means an
electronic, magnetic, optical, electrochemical, or other high speed data processing device

performing logical, arithmetic, or storage functions, and includes any data storage facility

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or communications facility directly related to or operating in conjunction with such
device

e. Peer-to-Peer (P2P) file sharing is a method of communication available to
lnternet users through the use of special software Computers linked together through the
lnternet using P2P software form a network that allows for the sharing of digital files
between users on the network. A user first obtains the P2P software, which can be
downloaded from the lnternet. ln general, P2P software allows the user to set up file(s) on
a computer to be shared with others running compatible P2P software A user obtains files
by opening the P2P software~on the user’s computer, and conducting a search for files
currently being shared on the network.

f. Bit-Torrent is a P2P file sharing network. l3itTorrent sets up its searches
using keywords. The results of a keyword search are displayed to the user. The user then
selects file(s) from the results for download. The download of a file is achieved through a
direct connection between the computer requesting the file and the computer(s) sharing the
file For example, a person interested in obtaining child pornographic images Would open
the P2P application on his/ her computer and would conduct a keyword search for files
using`a term such as “pre-teen sex.” That keyword search is sent out over the network of
computers using compatible P2P software The results of the search are returned to the
user’s computer and displayed The user selects from the results displayed the file(s) he or
she wants to download. Selected files are downloaded directly from the computer sharing
the file The downloaded file is stored in the area previously designated by the user and/or
the software The downloaded file will remain until moved or deleted.

g. Tor is a computer network designed specifically to facilitate anonymous

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communication over the lnternet. Tor effectively bounces a user’s communications

around a distributed network of relay computers all over the world, making conventional

methods of identifying users obsolete Additionally, entire websites on Tor can be set up
as “hidden services,” which operate as ordinary public websites do, With one critical
exception: the IP address (and thus, the location) of the web server is hidden and replaced
with a Tor-based, web address. This address is comprised of a series of algorithm-
generated characters, such as “asdlk8fs9df1ku7f” followed by the suffix “.onion.” A user
can only reach these “hidden services” if the user is using the Tor client and operating in
the Tor network. Unlike an open lnternet website, is not possible to determine through
public lookups the IP address of a computer hosting a Tor “hidden service.” Neither law
enforcement nor users can therefore determine the location of the computer that hosts the
website through those public lookups.

5. Case Overview - Richard Grigson: On February 15 , 2018, the Department of
Homeland Security along with the Hamilton County Crimes Against Children Task Force
executed a search warrant at 9812 Lakewood Drive East, Indianapolis, IN, 46280 (SUBJECT
PREMISES). Present in the residence was GRIGSON, who was advised of his Miranda rights
and interviewed He admitted to knowingly distributing and receiving visual depictions of
minors engaging in sexually explicit conduct. He has been downloading child pornography
through online trading groups, some of which were accessed by Tor. Evidence recovered from
the Subj ect Premises showed the defendant’s involvement in distributing, receiving, and
possessing child pornography, including images of pre-pubescent children and toddlers, as well

as images of children being sexually abused.

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6. Obtaining Search Warrant: l obtained a search warrant from the Hamilton
County Superior Court on February 15th, 2018. The information used to support the warrant
includes the following:

a. Detective Laura Smith of the lndianapolis Metropolitan Police Department
conducted an online lnternet investigation to identify those possessing and sharing child
pornography using the BitTorrent network. On 11/04/2017 at approximately 9:02 a.m. A
connection was made between her computer and a computer/device using IP address
50.90.112.181 via the BitTorrent file sharing network. Several files were downloaded
during this connection.

b. Detective Smith provided to me the downloaded files as well as the logs
associated with the file sharing session.

c. l reviewed the downloaded files and determined that a file folder named
“01_29pic_inna” had been downloaded.

d. l examined the contents of the file folder “01_29pic_inna” and observed
the downloaded files from within the folder. I found that several of the downloaded files
depicted children under the age of eighteen (18) years old, including images of minors
engaged in sexually explicit conduct.

e. The following is a description of three of the files downloaded from the

computer/device at IP address 50.90.112.181 on 11/04/2017:

File Name: 1195984381043

Descrigtion: This is an image file depicting a nude, prepubescent
female child. The child has been posed facing the camera with her
legs spread apart, exposing her uncovered genitals.

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File Name: 1 199147324970

Description: This is an image file depicting a nude, prepubescent
female child. The child is lying on her back and her uncovered
genitals are exposed

File Name: 1199140144508

Descrigtion: This is an image file depicting a nude, prepubescent

female child. The child is posed facing away from the camera on
her hands and knees, exposing her uncovered genitals.

f. The images and videos that were downloaded were “single source”
downloads, meaning the files came exclusively and wholly from the single suspect
computer/device located at IP address 50.90.112.181 and not a group of computers
located at multiple IP addresses possessing the same file

g. A check of publicly available records maintained by an organization
known as the MaxMind determined that the aforementioned IP address was assigned to
the internet service provider Charter Communications.

h. A subpoena was sent to Charter Communications in order to identify the
subscriber for the lP address 50.90.112.181.

i. On 12/20/2017 Charter Communications responded to the subpoena and
identified the following subscriber had been assigned the IP address 50.90.112.181

during the time pertinent to this investigation:

Name: Richard Grigson
Address: 9812 Lakewood Drive East, Indianapolis, IN, 46280
7. On February 15, 2018, the search warrant was served at the Subj ect Premises.

8. GRIGSON was present at the Subj ect Premises. He was advised of his Miranda

rights and agreed to be interviewed He provided the following inforrnation:

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a. GRIGSON began looking at child pornography around 2009 and realized
that he was struggling with a sexual attraction to pornography featuring minor female
children.
b. GRIGSON views Child Pornography three to four times a week, and on
those days, he looks at CP along with adult pornography two to three hours a day.
c. GRIGSON becomes sexually aroused and masturbates when viewing child
pornography.
d. GRIGSON admitted that he uses the peer to peer networks BitTorrent and
Freenet to download and collect files of child pornography. He also uses websites on the
Tor network and the lnternet.
e. GRIGSON has a clear understanding of peer to peer file sharing, and
knows that he is actively distributing child pornography to other users of these programs
whenever he receives visual depictions through these programs
f. GRIGSON saved approximately 5 l/2 Terabytes of child pornography and
child erotica on an encrypted 6 Terabyte external hard drive GRIGSON provided
investigators with the necessary information to decrypt that hard drive
9. Forensic Examination: On-Scene examinations were performed on the digital
devices found inside of the Subj ect Premises. Special Agent Michael Johnson provided the
` following information:

a. GRIGSON possessed the aforementioned external hard drive lt was
encrypted with a program called TrueCrypt. GRIGSON provide the necessary

information to decrypt the external hard drive

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b.

SA Johnson, using the information provided by GRIGSON, decrypted the

external hard drive

ii.

iii.

iv.

vi.

C.

Thousands of files containing child pornography were quickly located on the
external hard drive Some of these files are described below:

31a.jpg - This is an image file depicting a prepubescent female child who is
nude from the waist down. Her legs are spread apart, exposing her uncovered
genitals. There is an object that has been inserted into the child’s anus.
58a.jpg - This is an image file depicting a nude, prepubescent female

child She is being vaginally penetrated by the penis of an adult male

9yo Tori - 027.jpg - This is an image file depicting a `nude, prepubescent
female child The child has been posed so that she is lying on her back with
her legs spread apart, exposing her uncovered genitals.

9Yo Tori - 032.jpg - This is an image file depicting a nude, prepubescent
female child She had been posed lying on her stomach with her head facing
away from the camera. Her legs are spread apart, exposing her uncovered
genitals.

18.jpg - This is an image file depicting a prepubescent female child
performing oral sex on an adult male

Some of the images and videos of child pornography that were in

GRIGSON’s possession on February 15, 2018 had been received by GRIGSON through

peer-to-peer file sharing. GRIGSON distributes these same images through the peer-to-

peer trading function. He was aware that the images and videos that he was distributing

and receiving included images of pre-pubescent children.

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10. The residence of Richard Grigson is located in the Southern District of lndiana.
The Internet, used to transmit visual depictions of minors engaged in sexually explicit conduct, is
a means and facility of interstate and foreign commerce The devises recovered from the Subj ect
Premises and his Richard Grigson were manufactured outside of the State of lndiana.

ll. Conclusion Based upon the contents of this Affidavit, there is probable cause to
believe that Richard Grigson has committed the above listed offenses. l respectfully request
that the Court issue a Criminal Complaint and Arrest Warrant for Richard Grigson charging

him with the offense listed above

 

 

omeland Security Investigations

Subscribed and sworn before me this 16th day of February, 2018

 

Tim A. Baker
United States Magistrate Judge
Southern District of lndiana

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